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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS


 MARION DIAGNOSTIC CENTER, LLC, et
 al.,
                   Plaintiffs,                       Case No. 3:18-cv-01059

             v.                                      Judge Nancy J. Rosenstengel

 BECTON, DICKINSON, AND CO., et al.
                    Defendants.



                AGREED MOTION TO EXTEND TIME
FOR ALL DEFENDANTS TO RESPOND TO PLAINTIFFS’ AMENDED COMPLAINT

       Cardinal Health, Inc., by its undersigned attorneys, requests that this Court grant this

agreed motion to extend the deadline for all Defendants to answer or otherwise respond to

Plaintiffs’ Amended Class Action Complaint, and states as follows:

       1.         Plaintiffs filed their original Class Action Complaint (Dkt. 1) on May 3, 2018.

The parties filed a consent motion to extend the date for Defendants to answer or otherwise

respond to June 29, 2018. The Court granted that consent motion on May 24, 2018 (Dkt. 21).

       2.         Plaintiffs filed their Amended Class Action Complaint (Dkt. No. 52) on June 15,

2018. The Amended Class Action Complaint adds McKesson Medical-Surgical Inc. as a new

Defendant. McKesson Medical-Surgical Inc. was served with the Amended Complaint on June

19, 2018.

       3.         Defendants request an extension of the deadline for answering or otherwise

responding to the Plaintiffs’ Amended Class Action Complaint from June 29, 2018, to July 20,

2018. This is the first request for an extension of time by Defendants to answer or otherwise

respond to the Amended Class Action Complaint. This motion is not made for purposes of
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delay, but to allow McKesson Medical-Surgical Inc. time to analyze the allegations and to

coordinate with the other Defendants for its response to avoid duplicative briefing.

       4.      The Parties agree that the filing of this unopposed motion shall not constitute

waiver of (a) any jurisdictional defenses that may be available under Rule 12 of the Federal

Rules of Civil Procedure, (b) any affirmative defenses under Rule 8 of the Federal Rules of Civil

Procedure, or (c) any other statutory or common law defenses that may be available to

Defendants.

       5.      Counsel for Plaintiffs has been consulted and has agreed to this motion. Counsel

for all Defendants have also been consulted and have agreed to this motion.

       6.      A draft order is attached to this Motion as Exhibit A and will also be submitted in

a format compatible with Microsoft Word to NJRpd@ilsd.uscourts.gov.

Dated: June 25, 2018                         Respectfully submitted,
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                        UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS


 MARION DIAGNOSTIC CENTER, LLC, et
 al.,
                   Plaintiffs,                   Case No. 3:18-cv-01059

            v.                                   Judge Nancy J. Rosenstengel

 BECTON, DICKINSON, AND CO., et al.
                    Defendants.



        [PROPOSED] ORDER EXTENDING TIME FOR ALL DEFENDANTS
     TO RESPOND TO PLAINTIFFS’ AMENDED CLASS ACTION COMPLAINT

       IT IS HEREBY ORDERED, pursuant to the agreement of the parties, that the deadline

for all Defendants to answer or otherwise respond to Plaintiffs’ Amended Class Action

Complaint is hereby extended to July 20, 2018.

Dated: June ____, 2018



                                            The Honorable Nancy J. Rosenstengel
                                            United States District Judge
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                                CERTIFICATE OF SERVICE

       I certify that I caused a copy of this Agreed Motion to Extend Time For All Defendants

To Respond To Plaintiffs’ Amended Class Action Complaint to be served on all counsel of

record via the Court’s Electronic Filing system.



                                             /s/ Scott D. Quellhorst
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